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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 TREY GREENE, individually and on behalf
                                           Case No. 2:23-cv-01165
 of all others similarly situated,

              Plaintiff

 v.

 ZAC PRINCE, FLORI MARQUEZ, TONY
 LAURA, JENNIFER HILL, and GEMINI
 TRADING, LLC,

              Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF ANTONIE ELAS FOR
 APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF SELECTION OF LEAD
                            COUNSEL




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                                        INTRODUCTION

         Antonie Elas (“Elas”) hereby moves before this Court for an order: (1) appointing him as

Lead Plaintiff; (2) approving of his selection of Lockridge Grindal Nauen P.L.L.P. and Gustafson

Gluek PLLC to serve as Lead Counsel; and (3) providing any additional relief that the Court may

deem just and proper.

         Before this Court is a securities class action brought by Trey Greene (“Greene”) on behalf

of a class of investors consisting of all individuals and entities who, between March 4, 2019,

through and including November 28, 2022 (the “Class Period”), invested in BlockFi Interest

Accounts (“BIAs”). Greene filed a Class Action Complaint and Demand for Jury Trial (ECF No.

1) on February 28, 2023. Elas filed a similar class action in the District of Massachusetts. 1 Both

the Elas case and the case in front of this Court allege that Defendants, who are or were officers

and/or directors of BlockFi, Inc. (“BlockFi”) and its affiliates, made false and misleading

statements to promote BIAs, including that BIAs were a secure method of collecting interest. The

lawsuits do not bring claims against BlockFi or its affiliates. The Greene lawsuit in front of this

Court alleges that Defendants violated Sections 5, 12(1) and 15(a) of the Securities Act of 1933,

Sections 12(a)(2) and 15 of the Securities Act of 1933, Sections 10(b) and 20 of the Securities

Exchange Act of 1934 and Rule 10b-5 promulgated thereunder, the New Jersey Uniform Securities

Law, N.J.S.A. § 49:3-60, and the Consumer Fraud Act, N.J.S.A §§ 56:8-1 et seq.

         Elas moves on the grounds that he is the most adequate plaintiff as defined by the Private

Securities Litigation Reform Act of 1995 (“PSLRA”) because he believes he possesses the largest

financial interest amongst qualified movants in the relief sought by the class, having invested

$425,000.00 on transactions in his BIA account. As the Massachusetts Elas lawsuit alleges, at the



1
    Elas v. Prince et al., Case No. 1:12-cv-10472-IT (D. Mass.).

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time BlockFi halted withdrawals from BIAs, Elas’ account holdings were valued at $466,454.44.

Elas’ claims are also typical of the claims of the putative class, and he will fairly and adequately

represent the interests of the class. Elas, therefore, is the presumptive Lead Plaintiff. Moreover,

Elas has selected experienced counsel well-versed in securities and other complex class litigation.

       Accordingly, the Court should appoint Elas as Lead Plaintiff and approve of his selection

of Lockridge Grindal Nauen P.L.L.P. and Gustafson Gluek PLLC as Lead Counsel.

                                  FACTUAL BACKGROUND

       BlockFi was founded in 2017 by Defendants Zac Prince and Flori Marquez and marketed

itself as a “bank” to take deposits and act as an intermediary as if it were a commercial bank

regulated by Federal and State law. It stated that it would provide “credit” to others in the crypto

market and, as such, described itself as a bank, indicating it would be prudent with the use of its

depositors’ money and have adequate reserves. However, from the outset, BlockFi did not conduct

its activities as a bank would: it lacked adequate reserves and lent its depositors’ money out

imprudently and without proper due diligence into the creditworthiness of its creditors or with a

credit officer responsible for assuring the continued creditworthiness and safety of the loans made.

Moreover, BlockFi did not secure its debts with adequate collateral.

       The Class Period begins on March 4, 2019, when BlockFi began to publicize and offer

BIAs to the public with acceptance into BIA interest deposits of U.S. Dollars and/or

cryptocurrency. The BIAs offered to pay compound interest, on a month-to-month basis, of 6%-

8% at a time when the typical interest rate on a savings or checking account in a U.S. bank was

much lower. Among other things, BlockFi held out to the public that it took an aggressive stance

toward risk management.




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       Defendants are (or were) officers and directors of BlockFi and are liable in those capacities.

These individuals reinforced the falsehoods. For example, during a May 2021 appearance on the

podcast Modern Finance, Defendant Prince stated that “[w]e are in the business of risk

management at BlockFi,” and that “[i]n order for any discrete customer at BlockFi to lose money,

BlockFi would have to lose all of our money first.” Prince added: “BlockFi’s equity is its

insurance.” As another example, on November 8, 2022, Defendant Marquez misleadingly tweeted

that “1) all @BlockFi products are fully operation. 2) @BlockFi . . . ha[s] a $400MM line of credit

from FTX.US . . . and will remain an independent entity until at least July 2023. 3) We are

processing all client withdrawals in line with our Terms of Service.” Just three days later, BlockFi

advised its customers that they could not withdraw their deposits because BlockFi had “significant

exposure” to FTX, including funds BlockFi had hoped to draw on under its agreement with FTX

and other assets held on the FTX platform.

       The BIAs were securities and BlockFi offered and sold them as investment contracts

without registering these securities with the U.S. Securities and Exchange Commission (the

“SEC”) for sale to customers. BlockFi offered and sold these securities without a registration

statement filed or in effect with the SEC, nor did the offer and sale of BIAs qualify for an

exemption from registration under the Securities Act of 1933.

       In 2021, the SEC (as well as various state agencies) opened an investigation that ultimately

concluded that BlockFi had violated the Securities Act of 1933, and in February 2022, BlockFi

settled with the SEC for $100 million over the BIAs. Although as part of the settlement with the

SEC, BlockFi had promised to cease offering the BIAs to new investors in the U.S. and cease

accepting further investments or funds in the BIAs by current U.S. investors, BlockFi violated its




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promises by continuing on a monthly basis to operate the BIA accounts and continued to do so

until its bankruptcy.

           Between March 2022 and June 2022, BlockFi’s valuation sank by two-thirds to $1 billion.

By the end of June 2022, BlockFi reported it held $1.8 billion in open loans at $600 million of

exposure. Then, during the summer of 2022, several of BlockFi’s major debtors filed for

bankruptcy, including Three Arrows, Voyager Digital, and Celsius Network. On September 8,

2022, it was announced that three BlockFi executives had resigned.

       Before its fall in November 2022, BlockFi generated the interest paid out to the BIA

investors by deploying assets in various ways, including loans of cryptocurrency to institutional

and corporate borrowers, and by investing in equities and futures. The BIA investors were

permitted, at any time until November 2022, to withdraw the equivalent of crypto assets held in

their BIAs, with some limitations, and could borrow money in U.S. Dollars against the amount of

crypto assets deposited in BIAs. On November 28, 2022, BlockFi filed for protection under

Chapter 11 of the U.S. Bankruptcy Code and filed a voluntary petition for relief in the U.S.

Bankruptcy Court for the District of New Jersey.

       The lead plaintiff deadline for this case, and the Elas case, is May 1, 2023. Shortly after

the Greene and Elas actions were filed, BlockFi and its affiliates in bankruptcy (the “Debtors”)

filed an adversary action seeking to stay the securities lawsuits. See BlockFi Inc. v. Greene, et al.,

Adv. Pro. No. 23-1071-MBK (D.N.J. Bankr.).

       On March 23, 2023, the Bankruptcy Court entered a temporary restraining order, pursuant

to Fed. R. Civ. P. 65 and Fed. R. Bankr. P. 7065, temporarily enjoining further litigation of the

Greene and Elas matters. See ECF No. 5. On April 6, 2023, the Bankruptcy Court entered an

Agreed Stipulation and Order prohibiting the further prosecution of the Greene and Elas matters



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“except for the initial filing of the lead plaintiff/lead counsel motions provided for in the PSLRA

. . . .” ECF No. 6 at ¶ 3. Specifically, the Bankruptcy Court ordered that “potential lead plaintiffs

[may] file motions for appointment of lead plaintiffs in the” Greene and Elas matters, but that

“[a]ll other actions and proceedings in or regarding [those] Actions (including any responses to

motions for appointment of lead plaintiffs, or any motions for consolidation or transfer) remain

enjoined and stayed . . . .” Id. at ¶ 5.2

                                            ARGUMENT

    I.      THE COURT SHOULD APPOINT ELAS AS LEAD PLAINTIFF.

            a. The Procedure Required by the PSLRA

         The PSLRA established a procedure governing the appointment of the lead plaintiff in

“each private action arising under [the Securities Exchange Act of 1934 and the Securities Act of

1933] that is brought as a plaintiff class action pursuant to the Federal Rules of Civil Procedure.”

15 U.S.C. § 78u-4(a)(1) & (a)(3)(B)(i); 15 U.S.C. § 77z-1(a)(1) & (a)(3)(B)(i).

         First, the plaintiff who files the initial action must publish a notice to the class, within 20

days of the filing of the action, informing class members of their right to file a motion for

appointment as lead plaintiff. 15 U.S.C. § 78u-4(a)(3)(A)(i); 15 U.S.C. § 77z-1(a)(3)(A)(i). Within

sixty (60) days after publication of the notice (i.e., today, May 1, 2023), any person who is a

member of the proposed class may apply to the Court to be appointed as lead plaintiff, regardless

of whether they have previously filed a complaint in the action. 15 U.S.C. § 78u-4(a)(3)(A) & (B);

15 U.S.C. § 77z-1(a)(3)(A) & (B) (“the court shall consider any motion made by a purported class




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  Elas therefore expressly reserves the right to, but does not presently, seek consolidation and/or
transfer of the Elas action with the present action. Pursuant to the Bankruptcy Court’s Order, Elas
and any other lead plaintiff movants may not file opposition or reply briefs in further support of
this motion until the bankruptcy stay is lifted. See ECF No. 6 at ¶ 5.

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 member in response to the notice, including any motion by a class member who is not individually

 named as a plaintiff in the complaint or complaints”).

        Second, the PSLRA provides that, within 90 days after publication of the notice, the Court

 shall consider any motion a class member makes and shall appoint as lead plaintiff the members

 of the class the Court determines to be the most capable of adequately representing the interests of

 class members. 15 U.S.C. § 78u-4(a)(3)(B); 15 U.S.C. § 77z-1(a)(3)(B). In determining the “most

 adequate plaintiff,” the PSLRA provides that the court shall adopt a presumption that the most

 adequate plaintiff in any private action arising under this Act is “the person or group of persons

 that (a) has either filed the complaint or made a motion in response to a notice . . .; (b) in the

 determination of the court, has the largest financial interest in the relief sought by the class; and

 (c) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15

 U.S.C. § 78u-4(a)(3)(B)(iii); 15 U.S.C. § 77z-1(a)(3)(B)(iii).

            b. Elas Has Timely Moved for Lead Plaintiff Appointment.

        Under the PSLRA, any class member may move for appointment as lead plaintiff within

 60 days of the publication of notice that the first action asserting substantially the same claims has

 been filed. See 15 U.S.C. § 78u-4(a)(3)(A); 15 U.S.C. § 77z-1(a)(3)(A). On February 28, 2023,

 the present action was filed, which alleges a class period of March 4, 2019 to November 28, 2022.

 On March 1, 2023, a notice was published alerting investors that the deadline to seek lead plaintiff

 status in this action is May 1, 2023. See Teti Decl.,3 Ex. A. On March 1, 2023, the Elas lawsuit

 was filed in the U.S. District Court for the District of Massachusetts, and notice was published the

 same day alerting investors that the deadline to seek lead plaintiff status in that action is also May




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  References to the “Teti Decl.” are to the Declaration of Stephen J. Teti, filed contemporaneously
 herewith.

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 1, 2023. See Teti Decl., Ex. B. Pursuant to the provisions of the PSLRA and within the required

 time frame after publication of those notices, Elas timely moves to be appointed as Lead Plaintiff

 on behalf of all members of the class. Elas also moves to be appointed in the Elas matter.4 Elas

 has signed a certification pursuant to the PSLRA. See Teti Decl., Ex. C. Elas has selected and

 retained qualified counsel to represent himself and the proposed class. See Teti Decl., Exs. D and

 E.

              c. Elas Has the Largest Financial Interest Among Qualified Movants in the
                 Relief Sought by the Class.

           In this case, the financial relief sought is based on losses sustained by Class members’

 purchases of BIA securities. At this early stage of the litigation, each plaintiff’s transaction volume

 provides an estimate for purposes of determining the movant with the largest financial interest.

 Elas’ PSLRA certification details his transactions. See Teti Decl., Ex. C. At the time of this filing,

 Elas believes he possesses the largest financial interest of the qualified movants seeking lead

 plaintiff status, having purchased an estimated $425,000.00 worth of the BIAs via various

 cryptocurrencies and U.S. dollars. Moreover, at the time BlockFi halted withdrawals from the

 BIAs, Elas’ account holdings were valued at $466,454.44. Elas’ purchases are as follows:

     Cryptocurrency     Amount         Transaction Type      Confirmed At
     BUSD               268.1070542    Interest Payment       10/31/2022 23:59
     USDC               268.5046636    Interest Payment       10/31/2022 23:59
     GUSD               1302.804107    Interest Payment       10/31/2022 23:59
     DAI                195.5362625    Interest Payment       10/31/2022 23:59
     PAX                 325.759837    Interest Payment       10/31/2022 23:59
     USDC               258.6017091    Interest Payment        9/30/2022 23:59
     PAX                313.7452047    Interest Payment        9/30/2022 23:59
     BUSD               258.2187642    Interest Payment        9/30/2022 23:59
     DAI                188.6196084    Interest Payment        9/30/2022 23:59
     GUSD               1254.754253    Interest Payment        9/30/2022 23:59

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  As noted above, Elas expressly reserves the right to, but does not presently, seek consolidation
 and/or transfer of the Elas action with the above-captioned action.

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  PAX             322.6029765   Interest Payment   8/31/2022 23:59
  DAI             194.2587794   Interest Payment   8/31/2022 23:59
  GUSD            1290.178945   Interest Payment   8/31/2022 23:59
  BUSD             265.508893   Interest Payment   8/31/2022 23:59
  USDC            265.9026494   Interest Payment   8/31/2022 23:59
  DAI             193.6127856   Interest Payment   7/31/2022 23:59
  PAX             321.0104755   Interest Payment   7/31/2022 23:59
  USDC            264.5900443   Interest Payment   7/31/2022 23:59
  BUSD            264.1982316   Interest Payment   7/31/2022 23:59
  GUSD             1283.81009   Interest Payment   7/31/2022 23:59
  GUSD            1048.061007   Interest Payment   6/30/2022 23:59
  PAX             271.3175589   Interest Payment   6/30/2022 23:59
  BUSD            225.4839945   Interest Payment   6/30/2022 23:59
  USDC            225.8000913   Interest Payment   6/30/2022 23:59
  DAI             186.7641702   Interest Payment   6/30/2022 23:59
  BUSD            232.0366514   Interest Payment   5/31/2022 23:59
  GUSD            1078.518089   Interest Payment   5/31/2022 23:59
  USDC            232.3619344   Interest Payment   5/31/2022 23:59
  DAI             230.8331136   Interest Payment   5/31/2022 23:59
  PAX             279.2021581   Interest Payment   5/31/2022 23:59
  BUSD            248.1298509   Interest Payment   4/30/2022 23:59
  DAI               246.74496   Interest Payment   4/30/2022 23:59
  PAX             302.4024096   Interest Payment   4/30/2022 23:59
  USDC            248.5041486   Interest Payment   4/30/2022 23:59
  GUSD            1222.161865   Interest Payment   4/30/2022 23:59
  DAI             286.7821882   Interest Payment   3/31/2022 23:59
  PAX             353.2061406   Interest Payment   3/31/2022 23:59
  USDC            288.8816781   Interest Payment   3/31/2022 23:59
  GUSD            1450.885942   Interest Payment   3/31/2022 23:59
  BUSD            288.4349756   Interest Payment   3/31/2022 23:59
  PAX             348.4650963   Interest Payment   2/28/2022 23:59
  GUSD            1436.342819   Interest Payment   2/28/2022 23:59
  USDC            284.7150396   Interest Payment   2/28/2022 23:59
  BUSD             284.272326   Interest Payment   2/28/2022 23:59
  DAI             282.6342977   Interest Payment   2/28/2022 23:59
  PAX             411.6445775   Interest Payment   1/31/2022 23:59
  BUSD            338.8381267   Interest Payment   1/31/2022 23:59
  DAI             336.9803004   Interest Payment   1/31/2022 23:59
  USDC            339.3402454   Interest Payment   1/31/2022 23:59
  GUSD            1193.674667   Interest Payment   1/31/2022 23:59
  GUSD                  12500   Ach Deposit         1/20/2022 0:23


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  GUSD                  12500   Ach Deposit          1/20/2022 0:22
  GUSD                  12500   Ach Deposit          1/19/2022 1:31
  GUSD                  12500   Ach Deposit          1/19/2022 1:30
  GUSD                  12500   Ach Deposit         1/11/2022 19:08
  GUSD                  12500   Ach Deposit         1/11/2022 19:07
  GUSD                  12500   Ach Deposit         1/10/2022 18:30
  GUSD                  12500   Ach Deposit         1/10/2022 18:29
  GUSD                  12500   Ach Deposit           1/8/2022 7:28
  GUSD                  12500   Ach Deposit           1/8/2022 7:27
  GUSD                  12500   Ach Deposit           1/7/2022 9:36
  GUSD                  12500   Ach Deposit           1/7/2022 9:35
  GUSD                  12500   Ach Deposit           1/6/2022 6:43
  GUSD                  12500   Ach Deposit           1/6/2022 6:42
  GUSD                  12500   Ach Deposit           1/5/2022 1:19
  GUSD                  12500   Ach Deposit           1/5/2022 1:18
  DAI             334.7849839   Interest Payment   12/31/2021 23:59
  USDC            337.1295548   Interest Payment   12/31/2021 23:59
  GUSD            334.7878251   Interest Payment   12/31/2021 23:59
  PAX             408.9628478   Interest Payment   12/31/2021 23:59
  BUSD            336.6307072   Interest Payment   12/31/2021 23:59
  BUSD            323.7173859   Interest Payment   11/30/2021 23:59
  PAX             393.2748297   Interest Payment   11/30/2021 23:59
  GUSD            321.9451977   Interest Payment   11/30/2021 23:59
  USDC            324.1970976   Interest Payment   11/30/2021 23:59
  DAI             321.9424656   Interest Payment   11/30/2021 23:59
  DAI             274.3732176   Interest Payment   10/31/2021 23:59
  PAX             228.1155811   Interest Payment   10/31/2021 23:59
  GUSD             273.970181   Interest Payment   10/31/2021 23:59
  USDC            276.3288033   Interest Payment   10/31/2021 23:59
  BUSD            275.8263571   Interest Payment   10/31/2021 23:59
  GUSD                  -5000   Trade              10/29/2021 18:03
  BUSD                   5000   Trade              10/29/2021 18:03
  GUSD                  -5000   Trade              10/29/2021 18:02
  USDC                   5000   Trade              10/29/2021 18:02
  GUSD                  -5000   Trade              10/29/2021 18:00
  DAI             4935.338722   Trade              10/29/2021 18:00
  GUSD                   1000   Ach Deposit        10/29/2021 17:58
  GUSD                  19000   Ach Deposit        10/29/2021 17:57
  GUSD                 -25000   Trade              10/28/2021 20:55
  PAX                   25000   Trade              10/28/2021 20:55
  GUSD                  25000   Ach Deposit        10/28/2021 16:24


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  PAX             192.3113784    Interest Payment   9/30/2021 23:59
  DAI             255.8732179    Interest Payment   9/30/2021 23:59
  GUSD            255.5244244    Interest Payment   9/30/2021 23:59
  BUSD            252.4154748    Interest Payment   9/30/2021 23:59
  USDC            257.6273341    Interest Payment   9/30/2021 23:59
  GUSD                 -15000    Trade               9/1/2021 22:06
  PAX                   15000    Trade               9/1/2021 22:06
  GUSD                    5000   Ach Deposit         9/1/2021 22:04
  GUSD                  10000    Ach Deposit         9/1/2021 22:03
  GUSD                   -8000   Trade                9/1/2021 1:39
  PAX                     8000   Trade                9/1/2021 1:39
  USDC                   -8350   Trade                9/1/2021 1:39
  PAX                     8350   Trade                9/1/2021 1:39
  USDC                   -1300   Trade                9/1/2021 1:37
  BUSD                    1300   Trade                9/1/2021 1:37
  GUSD                   -2000   Trade                9/1/2021 1:35
  BUSD                    2000   Trade                9/1/2021 1:35
                             -
  DAI             404.8977345    Trade                9/1/2021 1:33
  BUSD                     400   Trade                9/1/2021 1:33
  USDC                    -547   Trade                9/1/2021 1:31
  BUSD                     547   Trade                9/1/2021 1:31
  GUSD                    -895   Trade                9/1/2021 1:30
  BUSD                     895   Trade                9/1/2021 1:30
                             -
  DAI             10123.45447    Trade                9/1/2021 1:26
  BUSD                  10000    Trade                9/1/2021 1:26
  BUSD            139.1158902    Interest Payment   8/31/2021 23:59
  USDC            309.5115944    Interest Payment   8/31/2021 23:59
  GUSD            311.0010841    Interest Payment   8/31/2021 23:59
  DAI             320.4950468    Interest Payment   8/31/2021 23:59
  GUSD                  248.82   Bonus Payment      8/13/2021 23:59
                             -
  DAI             25294.48712    Trade                8/3/2021 0:20
  BUSD                  25000    Trade                8/3/2021 0:20
  USDC            238.4843834    Interest Payment   7/31/2021 23:59
  GUSD            335.7786315    Interest Payment   7/31/2021 23:59
  DAI             487.5964498    Interest Payment   7/31/2021 23:59
                             -
  DAI             50462.75507    Trade               7/7/2021 17:19
  USDC                  50000    Trade               7/7/2021 17:19
  GUSD                   -5000   Trade               7/4/2021 18:51


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  DAI              4946.96884   Trade               7/4/2021 18:51
  GUSD                   5000   Ach Deposit         7/4/2021 18:49
  GUSD                 -50000   Trade                7/2/2021 2:15
  DAI             49472.40696   Trade                7/2/2021 2:15
  GUSD                  20000   Ach Deposit          7/2/2021 2:08
  GUSD              -71880.39   Trade                7/2/2021 2:08
  DAI             71122.20243   Trade                7/2/2021 2:08
  GUSD            1022.937498   Interest Payment   6/30/2021 23:59
  GUSD            619.8497549   Interest Payment   5/31/2021 23:59
  GUSD                   5000   Ach Deposit         5/29/2021 5:30
  GUSD                   5000   Ach Deposit         5/28/2021 4:25
  GUSD                   5000   Ach Deposit         5/27/2021 4:07
  GUSD                   5000   Ach Deposit         5/26/2021 4:29
  GUSD                   5000   Ach Deposit         5/25/2021 4:05
  GUSD                   5000   Ach Deposit         5/24/2021 6:58
  GUSD                   5000   Ach Deposit         5/23/2021 4:30
  GUSD                   5000   Ach Deposit         5/22/2021 6:15
  GUSD                   5000   Ach Deposit         5/21/2021 5:56
  GUSD                   5000   Ach Deposit        5/20/2021 18:32
  GUSD                   5000   Ach Deposit         5/19/2021 4:09
  GUSD                  -5000   Ach Return         5/18/2021 22:20
  GUSD                   5000   Ach Deposit        5/18/2021 15:36
  GUSD                   5000   Ach Deposit         5/18/2021 3:30
  GUSD                   5000   Ach Deposit         5/17/2021 2:47
  GUSD                   5000   Ach Deposit        5/15/2021 21:55
  GUSD                   5000   Ach Deposit        5/14/2021 14:12
  GUSD                   5000   Ach Deposit         5/13/2021 4:57
  GUSD                   5000   Ach Deposit         5/12/2021 4:12
  GUSD                   5000   Ach Deposit         5/11/2021 4:09
  GUSD                   5000   Ach Deposit         5/10/2021 3:22
  GUSD                   5000   Ach Deposit          5/9/2021 2:46
  GUSD            237.4731507   Interest Payment   4/30/2021 23:59
  GUSD                   5000   Ach Deposit        4/14/2021 18:24
  GUSD                   5000   Ach Deposit        4/13/2021 18:07
  GUSD                   5000   Ach Deposit        4/12/2021 16:59
  GUSD                   5000   Ach Deposit        4/11/2021 16:15
  GUSD                   5000   Ach Deposit        4/10/2021 16:10
  GUSD                   5000   Ach Deposit         4/9/2021 16:04
  GUSD                   5000   Ach Deposit         4/8/2021 15:22
  GUSD                   5000   Ach Deposit         4/7/2021 15:09
  GUSD                   5000   Ach Deposit         4/6/2021 14:58


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  GUSD                        -127     Ach Withdrawal            4/5/2021 7:01
  GUSD                 26.69684457     Interest Payment        3/31/2021 23:59
  GUSD                        5000     Ach Deposit              3/8/2021 23:18
  GUSD                  0.42945187     Interest Payment        2/28/2021 23:59
  GUSD                         100     Ach Deposit              2/9/2021 23:13


            d. Elas Otherwise Satisfies Rule 23.

         A lead plaintiff must “otherwise satisf[y] the requirements of Rule 23 of the Federal Rules

 of Civil Procedure.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc); 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I)(cc).

 On a motion to serve as lead plaintiff, a movant need only make “a prima facie showing” that it

 satisfies the adequacy and typicality requirements of Rule 23. Goines v. Celsius Network, LLC,

 No. 22-cv-04560, 2023 WL 2945897 at *5 (D.N.J. Apr. 14, 2023). Here, Elas clearly satisfies both

 requirements.

         Typicality exists where the plaintiffs’ claims arise from the same series of events and are

 based on the same legal theories as the claims of all Class members. See Lifestyle Invs., LLC v.

 Amicus Therapeutics, Inc., No. 15-cv-7448, 2016 WL 3032684, at *7 (D.N.J. May 26, 2016). Elas

 satisfies this requirement because, similar to other Class members, he invested in the BIAs during

 the Class Period by transferring U.S. Dollars into a BIA account and was allocated cryptocurrency

 or transferred cryptocurrency assets to a BIA account in exchange for interest payments, and

 suffered damages as a result of the misconduct alleged in the Complaint. See In re Cendant Corp.

 Litig., 264 F.3d 201, 265 (3rd Cir. 2001) (lead plaintiff movant typical when its losses are not

 “markedly different” from the class) (citation omitted); see also Fed. R. Civ. P. 23(a)(3).

 Accordingly, Elas satisfies the typicality requirement of Rule 23.

         Elas similarly satisfies the adequacy requirement of Rule 23. Under Rule 23(a)(4), a

 representative party must “fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

 23(a)(4). For the interests of the Class to be fairly and adequately protected, the lead plaintiff “has

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 the ability and incentive to represent the claims of the class vigorously, has obtained adequate

 counsel, and [whether] there is conflict between [the movant’s] claims and those asserted on behalf

 of the class.” In re Cendant Corp. Litig., 264 F.3d at 265; see also Fed. R. Civ. P. 23(a)(4). Elas

 satisfies these elements because his substantial financial stake in the litigation provides him with

 the incentive to vigorously represent the interests of the Class. Elas’ interests are aligned with those

 of the other members of the Class and there are no facts to suggest any actual or potential conflict

 of interest between Elas and other Class members. And Elas has retained experienced and more

 than adequate counsel.

           Because Elas is the presumptive “most adequate plaintiff” under the PSLRA and no

 competing movant can rebut that presumption, the Court should appoint Elas as Lead Plaintiff.

     II.      THE COURT SHOULD APPROVE ELAS’ CHOICE OF COUNSEL.

           Under the PSLRA, the proposed lead plaintiff shall, subject to Court approval, select and

 retain counsel to represent the class it seeks to represent. 15 U.S.C. § 78u-4(a)(3)(B)(v); 15 U.S.C.

 § 77z-1(a)(3)(B)(v). Elas has selected Lockridge Grindal Nauen P.L.L.P. and Gustafson Gluek

 PLLC as his counsel in this litigation. Courts typically do not disturb a lead plaintiff’s choice of

 counsel unless doing so is necessary to protect the interests of the class. See In re Cendant Corp.

 Litig., 264 F.3d at 274.

           As set forth in each firm’s resumes, Lockridge Grindal Nauen P.L.L.P. and Gustafson

 Gluek PLLC have substantial experience in the prosecution of securities and other complex class

 actions and have previously served as lead counsel in numerous matters. See Teti Decl., Exs. D &

 E. Based on that experience, the Court may be assured that the members of the class will receive

 the best legal representation available.




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        Accordingly, the Court should approve Elas’ selection of Lockridge Grindal Nauen

 P.L.L.P. and Gustafson Gluek PLLC as Lead Counsel.

                                         CONCLUSION

        For the foregoing reasons, Antonie Elas respectfully requests that the Court: (1) appoint

 him as Lead Plaintiff in the Action; (2) approve his selection of Lockridge Grindal Nauen P.L.L.P.

 and Gustafson Gluek PLLC as Lead Counsel; and (3) grant such other relief as the Court may

 deem just and proper.


 Dated: May 1, 2023                   Respectfully submitted,

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